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                      IN THE UNITED STATES DISTRICT COURT FOR THE
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                               EASTERN DISTRICT OF CALIFORNIA
 7
 8      UNITED STATES OF AMERICA,           )               NO. 1:07-CR-0016-AWI
                                            )
 9                                          )               ORDER MEMORIALIZING
                          Plaintiff,        )               CONTINUANCE AND WARNING
10                                          )               TO COUNSEL
              v.                            )
11                                          )
        JUAN LUIS ALEMAN, and               )
12      JOSE EFRAIN RANGEL-GARCIA,          )
                                            )
13                        Defendants.       )
        ____________________________________)
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16                  On March 9, 2009, the court held sentencing hearings in the above entitled action
17   but granted a continuance at the parties’ request. The sentencing hearings have been continued to
18   April 6, 2009 at 9 a.m.
19          The sentencing hearings had originally been scheduled for May 19, 2008. The court
20   subsequently granted continuances on multiple occasions at the parties’ request. The parties are
21   forewarned that the court will not grant any further continuances in this matter unless good cause
22   is shown supported by appropriate documentation. The parties have had sufficient time to
23   prepare for this matter without any further delay. Accordingly, counsel will be expected to be
24   present in court on April 6, 2009 and to be prepared to proceed on this matter. Failure to do so
25   without good cause will result in sanctions being imposed upon counsel.
26   IT IS SO ORDERED.
27   Dated:     March 9, 2009                         /s/ Anthony W. Ishii
     0m8i78                                  CHIEF UNITED STATES DISTRICT JUDGE
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